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     ✔     7      3DJH         Suspension of Process Server 1071492-DCA               'DWHG          3/3/2020

                   3DJH                                                               'DWHG

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     ✔   E\SODFLQJWKHGRFXPHQW V LQDQHQYHORSH V DGGUHVVHGDVOLVWHGEHORZDQGWKHQSODFLQJWKHDGGUHVVHG
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WZLFHGDLO\DQGWKHQSODFHGLQWKH8QLWHG6WDWHV3RVWDO6HUYLFHPDLODVSDUWRIWKHURXWLQHFRXUVHRIEXVLQHVV


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     Benjamin Lamb




     ✔   Tracking/Receipt Number(s):


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               3/3/2020 Charnetta Pettie
Printed Name                                                           Signature
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